23-10164-smr Doc#185 Filed 07/17/23 Entered 07/17/23 14:30:46 Main document Pg 1 of 1


  United States Bankruptcy Court for the Western District of Texas

                                                              WITHDRAWAL OF CLAIM

          Debtor Name and Case Number: In re ASTRALABS Inc., Case No. 23-10164
                                           Marc Bertrand
                                           P.O. Box1967
                Creditor Name and Address: New York, NY 10025


         Court Claim Number (if known): 286

                                  Date Claim Filed: July 15, 2023

              Total Amount of Claim Filed: 97265.00

  I, the undersigned, am the above-referenced creditor, or an authorized signatory for the above-referenced
  creditor. I hereby withdraw the above-referenced claim and authorize the Clerk of this Court, or their
  duly appointed Claims Agent, to reflect this withdrawal on the official claims register for the above-
  referenced Debtor.

              July 17, 2023
  Dated: ________________________                                                  ___________________________________
                                                                                               Marc Bertrand
                                                                                   Print Name: ________________________
                                                                                                          Founder and Senior Executive
                                                                                   Title (if applicable): __________________

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                                                                         DEFINITIONS
  Debtor
  The person, corporation, or other entity that has filed a bankruptcy case is called the debtor.

  Creditor
  A creditor is any person, corporation, or other entity to which the debtor owed a debt.

  Proof of Claim
  A form filed with the clerk of the bankruptcy court where the bankruptcy case was filed, to tell the bankruptcy court how much the debtor owed a
  creditor (the amount of the creditor's claim).

               ITEMS TO BE COMPLETED ON THIS WITHDRAWAL OF CLAIM
  Court, Name of Debtor and Case Number:
  Fill in the name of the federal judicial district where the bankruptcy case was filed (for example, Central District of California), the name of the
  debtor in the bankruptcy case, and the bankruptcy case number. If you received a notice of the case from the court, all of this information is near
  the top of the notice.

  Information about Creditor:
  Complete the section giving the name and address of the creditor that was listed on the previously filed Proof of Claim form.

  Information identifying the Claim that is to be withdrawn:
  Complete the section giving the court claim number, date claim was filed and total amount of claim filed to help identify the claim that is to be
  withdrawn.

  Sign and print the name and title, if any, of the creditor or other person authorized to file this withdrawal of claim (attach copy of power
  of attorney, if any).

  This form must be filed with the clerk of the bankruptcy court where the bankruptcy case was filed
  or, if applicable, with their duly appointed Claims Agent as per any procedure approved by the
  court in the above-referenced bankruptcy proceeding.
